                                                                   SO ORDERED.


                                                                   Dated: June 20, 2019




  1
                  THE CAVANAGH LAW FIRM                            Eddward P. Ballinger Jr., Bankruptcy Judge
  2                   A Professional Association                   _________________________________
                    1850 NORTH CENTRAL AVENUE
  3                          SUITE 2400
                    PHOENIX, ARIZONA 85004-4527
  4                        (602) 322-4000

                           Minute Entries:
  5                   edocket@cavanaghlaw.com

  6   Philip G. Mitchell (SBN 010374)
      pmitchell@cavanaghlaw.com
  7
                             IN THE UNITED STATES BANKRUPTCY COURT
  8                                FOR THE DISTRICT OF ARIZONA
  9   In re                                                   In Proceedings Under
                                                              Chapter 7
 10
      THE CARWASHER, INC., and                            X   Case No. 2:13-bk-13417-EPB
 11                                                           Case No. 2:13-bk-13419-EPB
      BAJO ENTERPRISES, and                               X   Case No. 2:14-bk-01011-EPB
 12
      RAYMOND COY LINDBLOM,                                   (Jointly Administered under Case No.
 13   KATHLEEN LINDBLOM                                       2:13-bk-13417-EPB)
 14                                                Debtors.   ORDER AUTHORIZING SALE OF
                                                              REAL AND PERSONAL PROPERTY
 15                                                           FREE AND CLEAR OF LIENS
                                                              PURSUANT TO 11 U.S.C. § 363
 16

 17             This matter comes before the Court on a Sale of Real and Personal Property Free
 18   and Clear of Liens (the “Sale Motion”). The Sale Motion having been heard before the
 19   Court, this Court finds and concludes that the Sale Motion was properly noticed. The
 20   Court further finds and concludes that the sale of 324 North Country Club Drive, Mesa,
 21   Arizona 85204 to purchaser Las Salida, LLC is in the best interest of creditors and the
 22   estate.
 23             Based on the business judgment of the Trustee, as supported by an affidavit of the
 24   Trustee, the pleadings filed, and the arguments of counsel before the Court:
 25             IT IS ORDERED approving the sale of the bankruptcy estates interest in the
 26




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                                                                                           1   property generally located at 324 North Country Club Drive, Mesa, Arizona 85204 to Las
                                                                                           2   Salida, LLC for $400,000.00 on the terms and conditions set forth in the Sale Motion.
                                                                                           3          IT IS FURTHER ORDERED authorizing the distribution of proceeds for the
                                                                                           4   payment of ordinary closing expenses, closing costs set forth in the sale contract,
                                                                                           5   recording fees, escrow fees, real estate taxes and prorations as set forth in the settlement
                                                                                           6   statement.
                                                                                           7          IT IS FURTHER ORDERED authorizing escrow to release such funds from
                                                                                           8   escrow as are necessary to satisfy the interest of the non-debtor owners of those portions
                                                                                           9   of the property identified in the Sale Motion, pursuant to the terms of the Sale Contract.
                                                                                          10          IT IS FURTHER ORDERED authorizing Philip G. Mitchell, in his capacity as
              T HE C AVANAGH L AW F IRM , P.A.
                                                 1850 NORTH CENTRAL AVENUE, SUITE 2400




                                                                                          11   the Chapter 7 Trustee for the bankruptcy estates of The Carwasher, Inc., and Bajo
                                                       PHOENIX, ARIZONA 85004-4527




                                                                                          12   Enterprises to sign such documents as are necessary to complete the sale approved herein.
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                                                                                          13          IT IS FURTHER ORDERED that the balance of the proceeds attributable to the
                                                                                          14   Carwasher, Inc. and Bajo Enterprises estates will be held by the Chapter 7 Trustee subject
                                                                                          15   to further order of the Court.
                                                                                          16          IT IS FURTHER ORDERED that Las Salida, LLC shall hold the bankruptcy
                                                                                          17   estates of Carwasher, Inc. and Bajo Enterprises interests in the properties free and clear of
                                                                                          18   all liens, claims and encumbrances pursuant to 11 U.S.C. § 363(m).
                                                                                          19          IT IS FURTHER ORDERED that upon closing, the sale shall be final and
                                                                                          20   without recourse of any kind against the estates or Trustee for any reason. The Owner’s
                                                                                          21   sale remedy post-closing shall be limited to claims against any policies of insurance
                                                                                          22   obtained as post of the closing.
                                                                                          23          IT IS FURTHER ORDERED waiving the fourteen (14) day stay of Fed. R.
                                                                                          24   Bankr. P. 6004(h) so that the sale may close immediately and without delay.
                                                                                          25                                    DATE AND SIGNED ABOVE.
                                                                                          26




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